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    ORDERED in the Southern District of Florida on July 8, 2019.




                                                        John K. Olson, Judge
                                                        United States Bankruptcy Court
_____________________________________________________________________________
                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

   IN RE:                                           CASE NO. 18-12969-BKC-JKO
                                                    CHAPTER 13
   RALPH LEVI SANDERS, JR.
   __________________________/

            ORDER DENYING DEBTOR’S MOTION TO REINSTATE CHAPTER 13 CASE

            THIS CAUSE came to be heard on the Chapter 13 consent calendar on July 1, 2019 upon
   the Debtor’s Motion to Set Aside Dismissal and Reinstate Chapter 13 Case (DE 74) and the court
   having reviewed the Motion and the file in this cause, and being otherwise fully advised in the
   premises, it is, therefore,
            ORDERED AND ADJUDGED that the Motion is hereby DENIED.

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   Submitted by:

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   (954) 641-7750 fax

   Michael H. Johnson is directed to serve copies of this order on all interested parties and file a
   certificate of service.
